                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


ANTHONY S. KIDD,                                    )
                                                    )
              Plaintiff,                            )
                                                    )
v.                                                  )      Case. No. 22-3123-JWL-JPO
                                                    )
JEREMY BAKER, et al.,                               )
                                                    )
              Defendants.                           )
                                                    )

                  NOTICE OF WITHDRAWAL OF COUNSEL AND
               ENTRY OF APPEARANCE OF SUBSTITUTED COUNSEL
       Pursuant to D. Kan. Rule 83.5.5(c), Matthew L. Shoger, Assistant Attorney General,

hereby enters his appearance as substituted counsel for Defendants Jeremy Baker, Tyler Jones,

Michael Falck, Jason Vsetecka, and FNU Simmons. Dennis D. Depew, Deputy Attorney General,

hereby withdraws his appearance as counsel of record for Defendants.

       This notice is being served as required by D. Kan. Rule 83.5.5(c).

                                            Respectfully submitted,

                                            OFFICE OF ATTORNEY GENERAL
                                            DEREK SCHMIDT

                                            /s/ Matthew L. Shoger
                                            Matthew L. Shoger, KS No. 28151
                                            Assistant Attorney General
                                            120 SW 10th Avenue, 2nd Floor
                                            Topeka, Kansas 66612-1597
                                            matt.shoger@ag.ks.gov
                                            (785) 296-2215
                                            Fax: (785) 291-3767
                                            Attorney for KDOC Defendants
                                             /s/ Dennis D. Depew
                                             Dennis D. Depew, #11605
                                             Deputy Attorney General
                                             120 S.W. 10th Ave., 2nd Fl.
                                             Topeka, KS 66612-1597
                                             Tele: (785) 296-2215
                                             Fax: (785) 295-3875
                                             Dennis.Depew@ag.ks.gov
                                             Attorney for KDOC Defendants


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of November, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to the following:

       Jon D. Graves
       Hutchinson Correctional Facility
       PO Box 1568
       Hutchinson, KS 67504-1568
       jon.graves@ks.gov
       Attorney for Hutchinson Correctional Facility, Interested Party

       Natasha M. Carter
       Kansas Department of Corrections
       714 SW Jackson Street, Suite 300
       Topeka, KS 66603
       natasha.carter@ks.gov
       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Anthony S. Kidd #93399
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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